Case 2:20-cv-00974-GRB-JMW Document 62 Filed 01/12/21 Page 1 of 2 PageID #: 512
                                                                                                  FILED
                                                                                              IN CLERK'S OFFICE
   Page 1 of 2                                                                          U.S. DISTRICT COURT E.D.N.Y
                                                                                        * JAN 1 2 2021          ^
   UNITED STATES DISTRICT COURT                                    Courtroom 940
   EASTERN DISTRICT OF NEW YORK                                    DATE: 1/12/2021       LONG ISLAND OFFICE
                                                                   TIME:.
                                                                   2      :00
   BEFORE: GARY R. BROWN, U.S. DISTRICT JUDGE

                        CASE: Civil Cause for Telephone Pre-Motion Conference
                                       20CV00974
                    CACCAVALE ET AL V. HEWLETT-PACKARD COMPANY ET AL



   APPEARANCES:             Plaintiff: Steven Moser


                            Defendant:     Kristofor Henning and liana Levin, Jeffrey Ruzal and Kenneth
                                           DiGia
   COURT REPORTER/FTR**#: 2:22- 3:45
                  Motion for:       to dismiss
                  Movant:           defendants
   Case called.

   IE!    Counsel for all sides present.
   IE     Pre-motion conference held.

                  □Parties to meet and confer and submit a schedule within 2 weeks.

                  □Motion Schedule set.               Motion served by:
                                                            Response served by:
                                                            Reply and all papers filed by:

   □      Discovery to proceed while motion is pending. Parties to contact Magistrate
                  Judge assigned to the case to schedule an Initial Conference.
   □      Choose an item.

   □      Motion argued.
   □      The Court deems the motion made.

   □      Motion is Choose an item.(** No written decision**)
   IE     Other: Rulings placed on the record. Additional briefs will be fi led. 30 davs to
   serve. 30 davs to respond. 2 weeks to replv and file all papers.
   □      The parties are to submit order on notice to all parties.
   □      Settlement discussed. Choose an item.

   □      Jury Selection and trial set for:
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                 Joint pretrial order due by:

   ** To obtain a copy ofthe transcript counsel should contact ESR Central Islip at(631)
   712-6030. Instructions and forms for requesting a transcript can be found at
   https://www.nyed.uscourts.gov/ under the Court Information tab.
